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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

  Civil Action No. 10-cv-00063-RPM-MJW

  KAREN VERO,

         Plaintiff,

  v.

  PORTFOLIO RECOVERY ASSOCIATES, LLC, a Delaware limited liability company,

         Defendant.


                STIPULATION OF DISMISSAL WITH PREJUDICE
  ______________________________________________________________________

         IT IS HEREBY STIPULATED AND AGREED by and between the parties hereto,

  by their respective undersigned attorneys of record pursuant to Fed.R.Civ.P.

  41(a)(1)(A)(ii) that the above-entitled action has been settled and the parties hereby

  stipulate to its dismissal on its merits with prejudice with each party to pay her or its own

  attorney’s fees and costs, and pray that a judgment of dismissal with prejudice and on

  the merits be entered in the above entitled action pursuant hereto.

  Dated: February 4, 2010.

  Respectfully submitted,


  s/ David M. Larson                         s/ Louis Leonard Galvis
  ___________________________                _____________________
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